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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA 21-CR-00458 (CBA)(SJB)

-aganist

ERNESTO HERACLITO WEISSON PAZMINO

Defendant.

SANKET J. BULSARA, U.S.M.J.:

CONSENT TO HAVE A PLEA TAKEN BEFORE UNITED STATES
MAGISTRATE JUDGE SANKET J. BULSARA

United States Magistrate Judge Sanket J. Bulsara has informed me of my right to have
my plea taken before a United States District Judge. I have further been advised, however, that I
may consent to have my plea taken before Magistrate Sanket J. Bulsara. I understand that I will
suffer no prejudice if | refuse to so consent. I further understand that if | do not consent, the
District Court Judge assigned rather than the Magistrate Judge will conduct the plea allocution

After having discussed this matter fully with my uns? Y/ feney consent to enter my
plea before United States Magistrate Judge Sanket J.Bu [ \

PAZMINO
D

L IS RASHBAUM
on Fecgb Attorney for the Defendant

Assistan/U S. Attorney

Dated: Brooklyn, New York
APRIL 20, 2022

counye
EXHIBIT NO. 4 __

DENTE ae
DKT. #
DATE:

PENGAD 1-800-631-6989
